                       Case 1:21-cr-00268-CJN Document 1 Filed 03/15/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                        for the
                                                               District of &ROXPELD

                  United States of America                                 )
                             v.                                            )
                                                                           )       Case No.
                      Jeffrey McKellop
                                                                           )
                      DOB: XXXXXX                                          )
                                                                           )
                                                                           )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      January 6, 2021                   in the county of                                              in the
                          LQWKH'LVWULFWRI        &ROXPELD , the defendant(s) violated:

              Code Section                                                            Offense Description
        18 U.S.C. § 111(a)(1), (b)- Assaulting, Resisting, or Impeding Certain Officers with a Deadly or Dangerous Weapon,
        18 U.S.C. § 231(a)(3)- Obstruction of Law Enforcement During Civil Disorder,
        40 U.S.C. § 5104(e)(2)- Violent Entry and Disorderly Conduct on Capitol Grounds,
        18 U.S.C. § 1752(a)(1), (b)(1)(A)- Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority
        With a Deadly or Dangerous Weapon,
         18 U.S.C. § 1752(a)(2), (b)(1)(A)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds, with a Deadly or Dangerous
        Weapon,
        18 U.S.C. § 1752(a)(4), (b)(1)(A)- Engaging in Physical Violence in a Restricted Building or Grounds, with a Deadly or Dangerous
        Weapon.
          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u   Continued on the attached sheet.


                                                                                                         Complainant’s signature

                                                                                               Jeffrey Johannes, Special Agent
                                                                                                          Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             03/15/2021
                                                                                                             Judge’s signature

City and state:                         :DVKLQJWRQ'&                                   Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                          Printed name and title
